        Case 1:22-cr-00240-AKH Document 128-1 Filed 01/16/24 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                                22 Cr. 240 (AKH)
                - v. -

 SUNG KOOK (BILL) HWANG and
 PATRICK HALLIGAN,

                         Defendants.


                   Please indicate each of your verdicts with a check mark ().

Count One: Racketeering Conspiracy
(In violation of 18 U.S.C. § 1962(d))

Bill Hwang

       Guilty __________         Not Guilty ___________

Patrick Halligan

       Guilty __________         Not Guilty ___________


Count Two: Securities Fraud – Scheme To Manipulate The Market
(In violation of 15 U.S.C. §§ 78j(b) & 78ff; 17 C.F.R. § 240.10b-5; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________         Not Guilty ___________


Count Three: Market Manipulation – ViacomCBS (VIAC)
(In violation of 15 U.S.C. §§ 78i(a)(2) & 78ff; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________         Not Guilty ___________




                                                1
        Case 1:22-cr-00240-AKH Document 128-1 Filed 01/16/24 Page 2 of 3




Count Four: Market Manipulation – Discovery Communications, Inc. (DISCA)
(In violation of 15 U.S.C. §§ 78i(a)(2) & 78ff; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________       Not Guilty ___________


Count Five: Market Manipulation – Discovery Communications, Inc. (DISCK)
(In violation of 15 U.S.C. §§ 78i(a)(2) & 78ff; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________       Not Guilty ___________


Count Six: Market Manipulation – GSX Techedu Inc. (GSX)
(In violation of 15 U.S.C. §§ 78i(a)(2) & 78ff; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________       Not Guilty ___________


Count Seven: Market Manipulation – iQIYI, Inc. (IQ)
(In violation of 15 U.S.C. §§ 78i(a)(2) & 78ff; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________       Not Guilty ___________


Count Eight: Market Manipulation – Tencent Music Group (TME)
(In violation of 15 U.S.C. §§ 78i(a)(2) & 78ff; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________       Not Guilty ___________


Count Nine: Market Manipulation – Vipshop Holdings Ltd (VIPS)
(In violation of 15 U.S.C. §§ 78i(a)(2) & 78ff; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________       Not Guilty ___________
                                                2
        Case 1:22-cr-00240-AKH Document 128-1 Filed 01/16/24 Page 3 of 3




Count Ten: Securities Fraud – Scheme To Defraud Archegos’s Counterparties
(In violation of 15 U.S.C. §§ 78j(b) & 78ff; 17 C.F.R. § 240.10b-5; and 18 U.S.C. § 2)

Bill Hwang

       Guilty __________       Not Guilty ___________

Patrick Halligan

       Guilty __________       Not Guilty ___________


Count Eleven: Wire Fraud
(In violation of 18 U.S.C. §§ 1343 & 2)

Bill Hwang

       Guilty __________       Not Guilty ___________

Patrick Halligan

       Guilty __________       Not Guilty ___________


New York, New York
                      , 2024


                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________
                                                            ______________________




                                               3
